     Case 1:17-cv-00928-CPO-MJS Document 105 Filed 04/07/22 Page 1 of 2 PageID: 1046



                                                                                                     www.moodklaw.com
NEW JERSEY OFFICE                                                                                Jonathan R. Stuckel
Cherry Tree Corporate Center                                                                        Member NJ & PA Bars
                                                                                                          (856) 406-1319
Suite 501
                                                                                                 JStuckel@moodklaw.com
535 Route 38 East
Cherry Hill, NJ 08002
(856) 663-4300 Fax: (856) 663-4439



                                                      April 7, 2022

       Via ECF
       Honorable Matthew J. Skahill, U.S.M.J.
       Mitchell H. Cohen Building
       & U.S. Courthouse
       4th & Cooper Streets
       Camden, NJ 08101

                           RE: Levins v. Healthcare Revenue Recovery Group, LLC
                               Docket No.: 1:17-cv-928-RBK-KMW
                               Our File No.: 447-102973(SXK/CMS)

       Dear Judge Skahill:

               I represent Defendant in this matter. On March 24, 2022, the Court entered an Order
       requiring Defendant to produce four additional categories of information in the class spreadsheet
       previously provided. Specifically, Defendant was ordered to produce (1) the full name appearing
       as the “RP” in the DEBTOR section (indicating the party responsible for the debt); (2) the data
       populating the “Clnt” field (indicating the identity of the creditor to whom the debt is owed); (3)
       the date and time for each call during the relevant time period; and, (4) the telephone number
       reported for each call during the relevant time period.

                As it relates to number 3, Defendant respectfully requests that the Court reconsider its
       prior Order because the burden of producing this information significantly outweighs any utility
       it will have to Plaintiffs in this case. When addressing the scope of discovery under Rule
       26(b)(1), the Court must consider a number of factors: (1) the importance of the issues at stake in
       this action; (2) the amount in controversy; (3) the parties' relative access to relevant information;
       (4) the parties' resources; (5) the importance of the discovery in resolving the issues; and (6)
       whether the burden or expense of the proposed discovery outweighs its likely benefit. Fed. R.
       Civ. P. 26(b)(1).

               Discovery requests may also be curtailed to protect a person from whom discovery is
       sought from "annoyance, embarrassment, oppression, or undue burden or expense." Fed. R. Civ.
       P. 26(c)(1). Per these proportionality considerations, it is respectfully submitted that the Court
       should not require the production of request number 3.

             It is important to remember that this is an FDCPA case in which Plaintiffs claim that the
       Defendant violated the statute by leaving a pre-recorded message. To that end, the sole issue in
       {NJ308874.1}
            Philadelphia      Pittsburgh    Westchester County   Wilmington    Towson           New York
           Pennsylvania      Pennsylvania       New York          Delaware     Maryland         New York
Case 1:17-cv-00928-CPO-MJS Document 105 Filed 04/07/22 Page 2 of 2 PageID: 1047

 MARKS, O’NEILL, O’BRIEN, DOHERTY & KELLY, P.C.
 April 7, 2022
 Page 2

 this case is whether the pre-recorded message violates the FDCPA. Not only is Plaintiffs’ request
 to produce the date and time for each and every call made to any putative class member (as
 opposed to messages) irrelevant to the issue of whether the recorded message violates the
 FDCPA, but the burden of producing this information significantly outweighs any utility it will
 have.

         For example, Plaintiffs’ account notes indicate that the Levins’ were called 68 times
 during the class period. Most of the calls went unanswered and thus no messages were left. There
 are 65,661 putative class members on the Defendant’s revised class spreadsheet. If the 65,661
 putative class members were called approximately as many times as the Plaintiffs, this would
 mean that there are approximately 4,464,948 additional entries that the Defendants are required
 to make to their class spreadsheet to account for all the calls.

         It is difficult to even provide an estimate for the amount of time that would be needed to
 pull and input all of this additional information, but - needless to say - it would not be a quick
 task. To that end, HRRG estimates that producing the information in request no. 3 would take an
 exorbitant number of weeks given its lack of IT resources to dedicate to the task. Thus, pursuant
 to Rule 26(b)(1), Defendant respectfully requests that the Court reconsider its Order related to
 request number 3.

          Thank you in advance for Your Honor’s consideration in this matter.


                                              Respectfully submitted,

                                              MARKS, O’NEILL, O’BRIEN,
                                              DOHERTY & KELLY, P.C.

                                              /s/ Jonathan R. Stuckel_____
                                              Christian M. Scheuerman, Esquire
                                              Jonathan R. Stuckel, Esquire
 CMS/
 cc:  Philip Stern, Esquire




 {NJ308874.1}
